     Case 3:19-cr-00121-SCC Document 2048 Filed 08/09/22 Page 1 of 24

                                                          U.S. v. [2] Vladimir Natera-Abreu, 19-121 (SCC)




                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF PUERTO RICO

  UNITED STATES OF AMERICA,                         CRIMINAL NO. 19-121 (SCC)
  Plaintiff,


                                                    I ^^1\
                                                                                ^v/56-^.


                                                                                           '7f:<?\4' ft, ^

  [2] VLADIMIR NATERA-ABREU, a/k/a                                       ^          '     'cf-
                                                                                               ' ^.^-
                                                                                                             1\)
  "Vladi", "Flaco",
                                                                            °s            /,.           ;??•
  Defendant.                                                                   .°'s>.
                                                                          '. s^'^c
                                                                          •-.;''^^^
                                                                                lf      ^      -\

                                                                                      <? c-. 10 1. '•



                     PLEA AND FORFEITURE AGREEMENT

TO THE HONORABLE COURT:

       The United States of America, Defendant, [2] VLADIMIR NATERA-

ABREU, and Defendant's counsel, Jennie M. Espada-Ocasio, Esq., pursuant to


Federal Rule of Criminal Procedure 11, state that they have reached a Plea Agreement,

the terms and conditions of which are as follows:

   1. Charges to which Defendant will Plead Guilty

       Defendant agrees to plead guilty to Count One, Six and Seven of the

       Indictment:

       Count One: of the Indictment charges that from in or about the year 2006, and

continuing up to and until the return of the instant Indictment, in fhe Municipality of

San Juan, District of Puerto Rico and within the jurisdiction of this Court, [2]

VLADIMIR. NATERA-ABREU, and other persons, did knowingly and

intentionally, combine, conspire, and agree with each other and with diverse other


USAO-DPR-Plea                            Agreement                       Page                  [        1
             Case 3:19-cr-00121-SCC Document 2048 Filed 08/09/22 Page 2 of 24

                                                                   U.S. v. [2] Vladimir Natera-Abreu, 19-121 (SCC)




       persons known and unknown to the Grand Jury, to commit an offense against the

       United States, that is, to knowingly and intentionally possess with intent to distribute

        and/or to distribute controlled substances, to wit: in excess of two hundred and eighty

        (280) grams ofanuxture or substance containing a detectable amount of cocaine base

        (crack), a Schedule II Narcotic Dmg Controlled Substance; in excess of one (1)

       kilogram of a mbcture or substance containing a detectable amount of heroin, a

        Schedule I, Narcotic Drug Controlled Substance; in excess of five (5) kilograms of a

S-> mucture or substance containing a detectable amount of cocaine, a Schedule II,


^      Narcotic Dmg Controlled Substance; in excess of one hundred (100) kilograms of a

       nuxture or substance containing a detectable amount of marijuana, a Schedule I,

        Controlled Substance; a mixture or substance containing a detectable amount of

        Oxycodone (commonly known as Percocet), a Schedule II Controlled Substance; and

        a mucture or substance containing a detectable amount of Alprazolam (commonly

        known as Xanax), a Schedule IV Controlled Substance; within one thousand (1,000)

        feet of a real property comprising the Villa Kennedy Public Housing Project, Las Casas

        Public Housing Project, El Mirador Public Housing Project, Las Margaritas Public

        Housing Project, housing facilities owned by a public housing authority and within

        one thousand (1,000) feet of a real property, comprising a public or private school

        and/or-play ground. All in violation of Title 21, United States Code Sections 841(a)(l),

        846 and 860.




        USAO-DPR-Plea                            Agreement                      Page                 |       2
                   Case 3:19-cr-00121-SCC Document 2048 Filed 08/09/22 Page 3 of 24

                                                                         U.S. v. [2] Vladimir Natera-Abreu, 19-121 (SCC)




                    Count Six: of the Indictment charges that from in or about the year 2006, and

              continuing up to and until the return of the Indictment, in the Municipality of San

              Juan, District of Puerto Rico and within the jurisdiction of the this Court, defendant,

              [2] VLADIMIR NATERA-ABREU, did knowingly and unlawfully possess firearms,

              of unknown make and caliber, as that term is defined in Title 18, United States Code,

              Section 921(a)(3), in furtherance of a drug trafficking crime for which he may be

             prosecuted in a Court of the United States, as charged in Count One of the Indictment.

     ^ , All in violation of Title 18, United States Code, Section 924(c)(l)(A).

 ^                  Count Seven: of the Indictment charges that on or about March 1, 2016, in the
;\
              District of Puerto Rico, and elsewhere within the jurisdiction of this Court, the

              defendant, [2] VLADIMIR NATERA-ABREU, did knowingly conduct and attempt

              to conduct a financial transaction affecting interstate and foreign commerce, to wit,


              the purchase of real estate properties identified as Property No. 2158, registered at

             page 75, volume 42 ofGuaynabo, First Section, Registry of the Property ofGuaynabo,

              Puerto Rico, and Property No. 3082, registered at page remnant of Property No. 3082,

             volume remnant of Property No. 3082 of Guaynabo', First Section, Registry of the

              Property of Guaynabo, Puerto Rico, which involved the proceeds of a specified

             unlawful activity, .that is the felonious manufacture, importation, receiving,

              conceahnent, buying, selling, or otherwise dealing in controlled substances (as defined

              in section 102 of the Controlled Substance Act), set forth in Title 18, United States

              Code, Section 1961, punishable under any law of the United States including Title 21,


              USAO-DPR-Plea                           Agreement                       Page                 |       3
            Case 3:19-cr-00121-SCC Document 2048 Filed 08/09/22 Page 4 of 24

                                                                  U.S. v. [2] Vladimir Natera-Abreu, 19-121 (SCC)




       United States Code, Sections 841(a)(l) and 846, knowing that the transaction was

       designed in whole and in part to conceal and disguise the nature, location, source,

       ownership, and control of the proceeds of specified unlawful activity, and that while

3 conducting and attempting to conduct such fmancial transactions and that while

       conducting and attempting to conduct such financial transaction knew that the

       property involved in the financial transaction represented the proceeds of some form

       of unlawful activity.

             All in violation of Title 18, United States Code § 1956(a)(l)(B)(i).

^ 2. Maximum Penalties
^             Count One: The penalty for the offense charged in Count One of the Indictment

       is a term of imprisonment which shall not be less than ten (10) years and up to two (2)

       terms of life, a fine not to exceed twenty million dollars ($20,000,000.00) and a term

       of supervised release of not less than ten (10) years in addition to any term of

       incarceration, pursuant to Title 21, United States Code. §§ 841(b)(l)(A), 846, and 860.

              However, based on the stipulated and agreed amount of narcotics possessed by

       the defendant, that is, at least 2 kilograms but less than 3.5 kilograms of cocaine, the

       defendant faces a minimum term of imprisonment of five (5) years up to a maximum

       term of eighty (80) years, a fme not to exceed ten million dollars ($10,000,000.00), and

       a term of supervised release of at least eight (8) years in addition to any term' of

       incarceration, pursuant to Title 21, United States Code. §§ 841(b)(l)(B), 846, and 860.




       USAO-DPR-Plea                            Agreement                      Page                 |       4
           Case 3:19-cr-00121-SCC Document 2048 Filed 08/09/22 Page 5 of 24

                                                                 U.S. v. [2] Vladimir Natera-Abreu, 19-121 (SCC)




             Count Sue: The penalty for the offense charged in Count Six of the Indictment

      is a term of imprisonment of not less than five (5) years and up to life imprisonment,

      to be served consecutive to any other Count of conviction; and a fine not to exceed

      $250,000.00, and a term ofsuper/ised release up to five (5) years, pursuant to Title 18,

      United States Code, Section 924(c)(l)(A)(i).

             Count Seven: The penalty for the offense charged in Count Seven of the

      Indictment is a term of imprisonment of not more than twenty (20) years; and a fine

      not to exceed $500,000.00, and a term of supervised release up to five (5) years,

      pursuant to Title 18, United States Code, Section 1956(a)(l)(B)(i).

^^ 3. Sentencing Guidelines Applicability

             _   „   .
             Defendant understands that the sentence will be imposed by the Court in

      accordance with 18 U.S.C. § § 3551-86, and the United States Sentencing Guidelines

      (hereinafter "Guidelines"), which are advisory pursuant to the United States Supreme

       Court decision in United States v. Booker, 543 U.S. 220 (2005). Further, Defendant

       acknowledges that parole has been abolished, and that the imposition of Defendant's

      sentence may not be suspended.


          4. Special Monetary Assessment


             Defendant agrees to pay a special monetary assessment ("SMA") of one

      hundred dollars ($100.00) per count of conviction. The 9MA will be deposited in the

       Crime Victim Fund, pursuant to 18 U.S.C. § 3013 (a)(2)(A).

          5. Fines and Restitution


       USAO-DPR-Plea                          Agreement                       Page                  |      5
           Case 3:19-cr-00121-SCC Document 2048 Filed 08/09/22 Page 6 of 24


                                                                 U.S. v. [2] Vladimir Natera-Abreu, 19-121 (SCC)




             The Court may, pursuant to Section 5E 1.2 of the Guidelines order Defendant

      to pay a fine. The Court may also impose restitution. Defendant agrees to execute


      and make available, prior to sentencing, a standardized financial statement (OBD

      Form 500). The United States will advocate on behalf of any identified victim, and

      comply with its obligations under the Mandatory Victim Restitution Act of 1996.

         6. Sentence do be Determined by the Court




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^/           Defendant understands that the sentence to be imposed will be determined
^':
 tl
      solely by the United States District Judge. The United States cannot make and has not




 ^
      made any promise or representation as to what sentence Defendant will receive. Any




^     discussions that the parties might have had about possible sentences are not binding in

      any way on the Court, and do not constitute representations about what the parties

      will seek, or what the actual sentence will be.

         7. Recommended Sentencing Guidelines Calculations

             After due consideration of the relevant factors enumerated in 18 U.S.C. §

      3553(a), the United States and Defendant submit that the advisory Guidelines

      calculations listed below apply to Defendant. However, Defendant acknowledges that

      the Court is not required to accept those recommended Guidelines calculations.

                     SENTENCING GUIDELINES CALCULATIONS
                                COUNT ONE AND SEVEN
              21U.S.C. §§ 841(a)(l),?846 and 860 AND 18 U.S.C. 1956(a)(l)(B)(i)
       Base Offense Level pursuant to U.S.S.G. § 2Dl.l(c)(7)
                      -1-
                                                                                             26
       Protected Location U.S.S.G. § 2D1.2(a)(l)
                                                                                            +2
       Leadership Role U.S.S.G. § 3Bl.l(a)
                                                                                            +4

      USAO-DPR-Plea Agreement                                                                       Page | 6
         Case 3:19-cr-00121-SCC Document 2048 Filed 08/09/22 Page 7 of 24


                                                              U.S. v. [2] Vladimir Natera-Abreu, 19-121 (SCC)




                   SENTENCING GmDEUNES CALCULATIONS
                              COUNT ONE AND SEVEN
            21U.S.C. §§ 841(a)(l), 846 and 860 AND 18 U.S.C. 1956(a)(l)(B)(i)
     If the defendant was convicted under 18 U.S.C. §1956 (Money

     Laundering)- increase by 2 levels USSG:2Sl.l(b)(2)(B)
                                                                                          +2




^
     Acceptance of Responsibility pursuant to U.S.S.G. §3E1.1
                                                                                          -3

     TOTAL ADJUSTED OFFENSE LEVEL
                                                                                          31
      CH Cat. I     CH Cat. II   CH Cat. HI     CH Cat. IV     CH Cat. V              CH Cat. VI

       108-135        121-151     135-168        151-188         168-210                  188-235


^
^          AS TO COUNT SIX the United States and Defendant submit that pursuant to

    United States Sentencing Guidelines § 2K2.4(b), a defendant that is convicted of

    violating 18 U.S.C. § 924 (c)(l)(A), has a guideline sentence equal to the minimum

    term of imprisonment required by statute. In the present case, pursuant to 18 U.S.C. §


    924(c)(l)(A)(i), there is a minimum term of imprisonment ofsbcty (60) months.

       8. Sentence Recommendation


           As to Count One and Seven, and after due consideration of the relevant factors

    enumerated in 18 U.S.C. § 3553(a), the parties agree to request a sentence of one

    hundred and twenty (120) months of imprisonment, regardless of defendant's criminal

    history category.

                                            i

          .As to Count Six, the parties agree to recommend that defendant be sentenced

    to sbcty (60) months of imprisonment, consecutive to the term imposed for Count One,

    for a total sentence of not less than one hundred and_eightv_C180) months of

    imprisonment. The parties agree that any recommendation by either party for a term


    USAO-DPR-Plea Agreement                                                                      Page | 7
            Case 3:19-cr-00121-SCC Document 2048 Filed 08/09/22 Page 8 of 24


                                                                    U.S. v. [2] Vladimir Natera-Abreu, 19-121 (SCC)




       of imprisonment below or above the stipulated sentence recommendation will

       constitute a material breach of the Plea Agreement.

          9. No Stipulation as to Criminal History Category

             The parties do not stipulate as to any Criminal History Category for Defendant.

          10.Waiver of Appeal

             Defendant knowingly and voluntarily agrees that, if the total imprisonment

       sentence imposed by the Court is 180 months or less, Defendant waives the right to
 .-^
       appeal any aspect of this case's judgment and sentence, including, but not limited to
-V
       the term of imprisonment or probation, restitution, fines, forfeiture, and the term and

       conditions of supervised release.


          11. No Further Adjustments or Departures

             The United States and Defendant agree that no further adjustments or

       departures to Defendant's total adjusted base offense level and no variant sentence

       under 18 U.S.C. § 3553—other than any explicitly provided for in this Plea

       Agreement—shall be sought by Defendant. The parties agree that any request by

       Defendant for an adjustment or departure that is not explicitly provided for in this Plea

       Agreement will be considered a material breach of this Plea Agreement, and the

       United States will be free to ask for any sentence, either guideline or statutory.

          12. Satisfaction with Counsel

             Defendant is satisfied with counsel, Jennie M. Espada-Ocasio, Esq., and asserts


       that counsel has rendered effective legal assistance.


       USAO-DPR-Plea                            Agreement                        Page                 |       8
           Case 3:19-cr-00121-SCC Document 2048 Filed 08/09/22 Page 9 of 24


                                                                   U.S. v. [2] Vladimir Natera-Abreu, 19-121 (SCC)




         13. Rights Surrendered by Defendant Through Guilty Plea

            Defendant understands that by entering into this Plea Agreement, Defendant

      surrenders and waives certain rights as detailed in this agreement. Defendant

      understands that the rights of criminal defendants include the following:

                a. If Defendant had persisted in a plea of not guilty to the charges,
                    Defendant would have had the right to a speedy jury trial with the
                    assistance of counsel. The trial may be conducted by a judge sitting
                   without a jury if Defendant, the United States and the judge agree.

                b. If a jury trial is conducted, the jury would be composed of twelve lay
                   persons selected at random. Defendant and Defendant's attorney
               would assist in selecting the jurors by removing prospective jurors for
                cause where actual bias or other disqualification is shown, or by
               removing prospective jurors without cause by exercising peremptory
<^\, challenges. The jury would have to agree, unanimously, before it could
                return a verdict of either guilty or not guilty. The jury would be instructed
                that Defendant is presumed innocent, that it could not convict Defendant
                unless, after hearing all the evidence, it was persuaded of Defendant's
                guilt beyond a reasonable doubt, and that it was to consider each charge
                   separately.


                c. If a trial is held by the judge without a jury, the judge would find the facts
                   and, after hearing all the evidence and considering each count separately,
                   determine whether or not the evidence established Defendant's guilt
                   beyond a reasonable doubt.

                d. At a trial, the United States would be required to present its witnesses
                   and other evidence against Defendant. Defendant would be able to
                   confront those witnesses and Defendant's attorney would be able to
                   cross-examine them. In turn, Defendant could present witnesses and
                   other evidence on Defendant's own behalf. If the witnesses for Defendant
                   would not appear voluntarily, Defendant could require their attendance
                   through the subpoena power of the Court.

                e. At a trial, Defendant could rely on the privilege against self-incrimination
                    to decline to testify, and no inference of guilt could be drawn from
                    Defendant's refusal to testify. If Defendant desired to do so, Defendant
                    could testify on Defendant's own behalf.

      USAO-DPR-Plea                             Agreement                       Page                 |       9
               Case 3:19-cr-00121-SCC Document 2048 Filed 08/09/22 Page 10 of 24

                                                                        U.S. v. [2] Vladimir Natera-Abreu, 19-121 (SCC)




               14. Stipulation of Facts

                  The accompanying Stipulation of Facts signed by Defendant is hereby

           incorporated into this Plea Agreement. Defendant adopts the Stipulation of Facts and

           agrees that the facts therein are accurate in every respect. Defendant agrees and accepts


           that had the matter proceeded to trial, the United States would have proven those facts

           beyond a reasonable doubt.

               15.Limitations of Plea Agreement
     ^-
                  This Plea Agreement binds only the United States Attorney's Office for the
•^
           District of Puerto Rico and Defendant. It does not bind any other federal district, state,

           or local authorities.


               16.Entirety of Plea Agreement

                  This written agreement constitutes the complete Plea Agreement between the

           United States, Defendant, and Defendant's counsel. The United States has made no

           promises or representations except as set forth in writing in this Plea Agreement and

          ' denies the existence of any other terms and conditions not stated herein.
•!




               17.Amendments to Plea Agreement

                  No other promises, terms or conditions will be entered into between the parties'
                                                                   1C

           unless they are in writing and signed by ati parties.




           USAO-DPR-Plea Agreement Page | 10
         Case 3:19-cr-00121-SCC Document 2048 Filed 08/09/22 Page 11 of 24


                                                               U.S. v. [2] Vladimir Natera-Abreu, 19-121 (SCC)




         18.Dismissal of Remaining Counts

            At sentencing should there be any pending counts and should the Defendant

     comply with the terms of this Plea Agreement, the United States will move to dismiss

     the remaining counts of the Indictment pending against Defendant in this case.

         19.Voluntariness of Plea Agreement

            Defendant acknowledges that no threats have been made against Defendant and

     that Defendant is pleading guilty freely and voluntarily because Defendant is guilty.

        20. Package Plea Provision


.^          Defendant is fully aware that this is a package plea agreement, that is, a

^    Plea Agreement conditioned upon the guilty plea of co-defendants [I]

     EMMANUEL PACHECO-MARIN, [4] JESUS J. RIVERA- FIGUEROA, [5]

     JOSE L. GARCIA-LOPEZ, [6] LUIS A. GARCIA-LOPEZ, [7] ELVIN 0.

     CRUZ-VERGES and, from case 19-124, defendants [I] EDISON MERCED-

     OLIVERA and [2] WALDEMAR FEBRES-SANCHEZ.

            Defendant certifies that Defendant is not entering into this guilty plea

     because of threats or pressures from any co-defendant, from any defendant in case


     19-124 or from any other person or entity. Pursuant to United States v. Martinez-


     Molina, 64 F.3d 719 (1st Cir. 1995), package plea agreements require. that the
                                \I



     District Court be alerted to the fact that co-defendants are entering a package deal

     so that the District Court can carefully ascertain the voluntariness of each

     defendant's plea. The parties further agree that should any of the co-defendants or


     USAO-DPR-Plea Agreement                                                                     Page | 11
    Case 3:19-cr-00121-SCC Document 2048 Filed 08/09/22 Page 12 of 24


                                                          U.S. v. [2] Vladimir Natera-Abreu, 19-121 (SCC)




any defendant in case 19-124 withdraw the guilty plea, the United States reserves

its right to withdraw from its obligations under the package plea agreement in its

entirety.


   21. Breach and Waiver

      Defendant agrees that defendant will have breached this Plea Agreement if,

after entering into this Plea Agreement, Defendant: (a) fails to perform or to fulfill

completely each and every one of Defendant's obligations under this Plea Agreement;

(b) engages in any criminal activity prior to sentencing; or (c) attempts to withdraw

Defendant's guilty plea. In the event of such a breach, the United States will be free

from its obligation under this Plea Agreement and Defendant will not have the right

to withdraw the guilty plea. Moreover, Defendant agrees that if Defendant is m

breach of the Plea Agreement, Defendant is deemed to have waived any objection to

the reinstatement of any charges under the Indictment, Information, or complaint

which may have previously been dismissed or which may have not been previously

prosecuted.


   22. Potential Impact on Immigration Status

      Pursuant to Federal Rule of Criminal Procedure 1 l(b)(l)(0), Defendant hereby

agrees and recognizes that if convicted, a Defendant who is not a United States citizen

may be removed from the United States, denied citizenship, and denied admission to

the United States in the future.




USAO-DPR-Plea Agreement Page | 12
    Case 3:19-cr-00121-SCC Document 2048 Filed 08/09/22 Page 13 of 24

                                                             U.S. v. [2] Vladimir Natera-Abreu, 19-121 (SCC)




   23. Felony Conviction


       Defendant hereby agrees and recognizes that the plea of guilty in this case will


be recognized as a felony conviction, which will result in the loss of certain rights,

including but not limited to the right to vote in a federal election, to serve as a juror,

to hold public office, and to lawfully possess a firearm.


   24. Firearms and Ammunition Forfeiture

       Pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), Defendant agrees to

forfeit Defendant's rights and interest in any firearms and ammunition involved or

used in the commission of the offense.

   25. Forfeiture Provision

       Pursuant to this Plea Agreement, the defendant agrees to forfeit to the United

States any drug proceeds or substitute assets for that amount, which constitutes or is

derived from proceeds generated or traceable to the drug trafficking offense in violation

of 21 U.S.C. §§841, 846 and 860. Further, defendant shall forfeit to the United States

any property constituting, or derived from, proceeds obtamed, directly or indirectly,

as a result of said violations and any property used, or intended to be used, in any

manner or part, to commit, or to facilitate the commission of the said violations up to

the amount stated above. The defendant agrees to identify all assets over which the

defendant exercises or exercised control, directly or indirectly, within the past three

years, or in which the defendant has or had during that time any financial interest. The

defendant agrees to take all steps as requested by the United States to obtain from any


USAO-DPR-Plea Agreement Page | 13
    Case 3:19-cr-00121-SCC Document 2048 Filed 08/09/22 Page 14 of 24

                                                           U.S. v. [2] Vladimir Natera-Abreu, 19-121 (SCC)




other parties by any lawful means any records of assets owned at any time by the

defendant. Defendant agrees to forfeit to the United States all of the defendant's

interests in any asset of a value of more than $1,000 that, within the last three years,

the defendant owned, or in which the defendant maintained an interest, the ownership

of which the defendant fails to disclose to the United States in accordance with this

agreement.



      Defendant agrees to waive and forgo any interests or claims over the following

specific property under 21U.S.C.§853:


      All that lot, together with its buildings, appurtenances, improvements, fixtures,

attachments and easements, located at Pueblo Viejo Ward, Guaynabo, Puerto Rico,

more particularly described as:

      URBAN: Pueblo Viejo Ward of Guaynabo. Superficial area of 1,390.8 square

meters. Boundaries: North, thirty-five meters eighty centimeters with H Street of the

Urbanization Villa Caparra. South, thirty-seven meters forty centimeters with the lot

property of E. Morton and V. Cardona respectively. East, thirty-eight meters with the

lot property ofJ.B Klein. West, thirty-eight meters with The Cement Corporation.

      Property No. 2158, registered at page 75, volume 42 ofGuaynabo, First Section,

Registry of the Property ofGuaynabo, Puerto Rico. Registered to the name ofRuben

Alexander Natera-Abreu.




USAO-DPR-Plea Agreement Page | 14
             Case 3:19-cr-00121-SCC Document 2048 Filed 08/09/22 Page 15 of 24

                                                                   U.S. v. [2] Vladimir Natera-Abreu, 19-121 (SCC)




               All that lot, together with its buildings, appurtenances, improvements, fixtures,

         attachments and easements, located at Urbanization Nueva Caparra, Guaynabo,


         Puerto Rico, more particularly described as:

               URBAN: Urbanization Caparra, a/k/a Obrero Ward, a/k/aNueva Caparra of

         Guaynabo. Lot: 14. Superficial area of 1,021.2 square meters. Boundaries: North,


         twenty-three meters twelve centimeters with H Street. South, twmty-two meters


         twenty centimeters with pieces of land of the Urbanization Nueva Caparra. East, forty-

         eight meters with Said Mudofort. West, forty-four meters with the company

 ^ ^.^^.^.
   ^ Ingenieros y Contratistas, Inc.

^f   Property No. 3082, registered at page remnant of Property No. 3082, volume

         remnant of Property No. 3082 ofGuaynabo, First Section, Registry of the Property of

         Guaynabo, Puerto Rico. Registered to the name ofRuben Alexander Natera-Abreu.


               All that lot, together with its buildings, appurtenances, improvements, fixtures,

         attachments and easements, located at Ave. Eduardo Conde, San Juan, Puerto Rico


         more particularly described as:

               URBAN: Commercial property located at end of Eduardo Conde Street

         Number Two Thousand Four Hundred Twenty Two (2,422) with measurements of

         One Thousand One Hundred Fifty Two (1,152) square feet in concrete, and an area
                                                               t
                                                               f
         with metal (zinc) roof with a measurement of One Thousand Forty Eight Point Five

         square feet. This structure has a total area of approximately two thousand two hundred

         twenty square feet, which is for commercial use.



         USAO-DPR-Plea Agreement Page | 15
    Case 3:19-cr-00121-SCC Document 2048 Filed 08/09/22 Page 16 of 24


                                                             U.S. v. [2] Vladimir Natera-Abreu, 19-121 (SCC)




       Registered to the name of CMIYA Investments, Inc.

       All that lot, together with its buildings, appurtenances, improvements, fixtures,

attachments and easements, located at Ave. Eduardo Conde, San Juan, Puerto Rico


more particularly described as:

       URBAN: Property located at end of Eduardo Conde Street Number Two

Thousand Four Hundred Twenty Four (2,424) with a measurement of twenty two feet

times thirty three feet (22'X33') built in concrete and zinc. This structure has a total

area of approximately seven hundred twenty six (726) square feet, which is a structure

of residential use.

       Registered to the name of CMIYA Investments, Inc.

       The defendant further agrees to waive all interest in any such asset in any

administrative or judicial forfeiture proceeding, whether criminal or civil, state or

federal. The defendant agrees to consent to the entry of orders of forfeiture for such

property and waives the requirements of Federal Rules of Criminal Procedure 32.2

and 43 (a) regarding notice of the forfeiture in the charging instrument, announcement

of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment.

Defendant acknowledges that he understands that the forfeiture of assets is part of the

sentence that may be imposed in this case and waives any failure by the court to advise

him of this, pursuant to Rule ll(b)(l)(J), at the time his guilty plea is accepted.


       The defendant further agrees to waive all statutory challenges in any manner

(including direct appeal, habeas corpus, or any other means) to any forfeiture carried


USAO-DPR-Plea Agreement Page | 16
          Case 3:19-cr-00121-SCC Document 2048 Filed 08/09/22 Page 17 of 24


                                                                  U.S. v. [2] Vladimir Natera-Abreu, 19-121 (SCC)




      out in accordance with this Plea Agreement on any grounds, including that the

      forfeiture constitutes an excessive fine or punishment. The defendant agrees to take all

      steps as requested by the United States to pass clear title to forfeitable assets to the

      United States, and to testify truthfully in any judicial forfeiture proceeding. Defendant

      acknowledges that all property covered by this agreement is subject to forfeiture as

      proceeds of illegal conduct, giving rise to forfeiture and/or substitute assets for

      property otherwise subject to forfeiture.


 ^
,^"




                           (SPACE INTENTIONALLY LEFT IN BLANK)




      USAO-DPR-Plea Agreement Page | 17
     Case 3:19-cr-00121-SCC Document 2048 Filed 08/09/22 Page 18 of 24

                                                            U.S. v. [2] Vladimir Natera-Abreu, 19-121 (SCC)




       Defendant by agreeing to the forfeiture stated above, acknowledges that such

forfeiture in not grossly disproportional to the gravity of the offense conduct to which

defendant is pleading guilty. Defendant agrees that the forfeiture provisions of this plea

agreement are intended to, and will, survive him, notwithstanding the abatement of

any underlying criminal conviction after the execution of this agreement. The

forfeitability of any particular property pursuant to this agreement shall be determined

as if Defendant had sur/ived, and that determination shall be binding upon

Defendant's heirs, successors and assigns until the agreed forfeiture, including any

agreed money judgment amount, is collected in full.


W. STEPHEN MULDROW
United States Attorney



 /<2^ ^ ^^y^^- ^                                             2^^i
Alberto R. Lopez Rocafort                              Jemu4 M. Es'Rada-Ocasio, Esq.
Assistant U.S. Attorney                                Counsel for Defendant
Chief, Gang Section                                    Dated: ^^^0'^^'
Dated: ^/s /S€)2^



  <M/^W
Jdseph L. Russell                                      Vladimir Natera-Abreu
Assistant U.;3. Attorney
                                                                          MzZJ72.
                                                       Defendant,,
Dated: W^.i..-,+ ?c'"--v                               Dated: C
                                                                             "T"




USAO-DPR-Plea Agreement                                                                       Page | 18
    Case 3:19-cr-00121-SCC Document 2048 Filed 08/09/22 Page 19 of 24

                                                          U.S. v. [2] Vladimir Natera-Abreu, 19-121 (SCC)




                         UNDERSTANDING OF RIGHTS

      I have consulted with counsel and fully understand all of my rights as to the

charges pending against me. Further, I have consulted with my attorney and fully

understand my rights as to the provisions of the Guidelines that may apply in my case.

I have read this Plea Agreement and carefully reviewed every part of it with my

attorney. My counsel has translated the Plea Agreement to me in the Spanish

language and I have no doubts as to the contents of the agreement. I fully understand

this agreement and voluntarily agree to it.

Date: ^j2QZL_ -fJ^-J .
                                              Vladimir Natera-Abreu
                                              Defendant

      I am the attorney for Defendant. I have fully explained Defendant's rights to

Defendant with respect to the pending charges. Further, I have reviewed the applicable

provisions of the Guidelines and I have fully explained to Defendant the provisions of

those Guidelines that may apply in this case. I have carefully reviewed every part of

this Plea Agreement with Defendant. I have translated the Plea Agreement and

explained it in the Spanish language to the Defendant who has expressed having no

doubts as to the contents of the agreement. To my knowledge, Defendant is entering

into this Plea Agreement voluntarily, intelligently, and with full knowledge of all

consequences of Defendant's plea of guilty.

      Date: <^JC1 ]^ ^ ~^V^^
                                               Jenn\e M. Esp^l^-O^asio
                                               Couisel for Defendant



USAO-DPR-Plea Agreement Page | 19
              Case 3:19-cr-00121-SCC Document 2048 Filed 08/09/22 Page 20 of 24

                                                                      U.S. v. [2] Vladimir Natera-Abreu, 19-121 (SCC)




                                       STIPULATION OF FACTS
                  In conjunction with the submission of the accompanying Plea Agreement in

        this case, the Defendant, [2] VLADIMIR NATERA-ABREU admits that Defendant

        is guilty as charged in the Indictment and admits the following:

                  From in or about the year 2006, and continuing up to and until the return of the

        instant Indictment, in the Municipality of San Juan, District of Puerto Rico and within

 ^   ......   .    ..   _   ___     ._.._.____             ______              ______                      .    .       ^
^v the jurisdiction of this Court, [2] VLADIMIR NATERA-ABREU, and otheis

  ^.      .    „        „   L.
        meiabers-ef-fcas-Farc', did knowingly and intentionally, combine, conspire, and agree


        with each other and with diverse other persons known and unknown to the Grand

        Jury, to commit an offense against the United States, that is, to knowingly and

        intentionally possess with intent to distribute and/or to distribute controlled

        substances, to wit: in excess of two hundred and eighty (280) grams of a murture or

        substance containing a detectable amount of cocaine base (crack), a Schedule II

        Narcotic Dmg Controlled Substance; in excess of one (1) kUogram of a mixture or

        substance containing a detectable amount of heroin, a Schedule I, Narcotic Dmg

        Controlled Substance; in excess of five (5) kilograms of a mbcture or substance

        containing a detectable amount of cocaine, a Schedule II, Narcotic Drug Controlled

        Substance; in excess of one hundred (100) kilograms of a mucture or substance

        containing a detectable amount of marijuana, a Schedule I, Controlled Substance; a

        rmxture or substance containing a detectable amount of Oxycodone (commonly

        known as Percocet), a Schedule II Controlled Substance; and a mixture or substance

        containing a detectable amount of Alprazolam (commonly known as Xanax), a
        USAO-DPR-Plea Agreement Page | 20
     Case 3:19-cr-00121-SCC Document 2048 Filed 08/09/22 Page 21 of 24

                                                           U.S. v. [2] Vladimir Natera-Abreu, 19-121 (SCC)




Schedule IV Controlled Substance; within one thousand (1,000) feet of a real property

comprising the Villa Kennedy Public Housing Project, Las Casas Public Housing

Project, El Mirador Public Housing Project, Las Margaritas Public Housing Project,

housing facilities owned by a public housing authority and within one thousand

(1,000) feet of a real property comprising a public or private school and/or playground.

All in violation of Title 21, United States Code Sections 841(a)(l), 846 and 860.

       The object of the conspiracy was to distribute controlled substances within one

thousand (1,000) feet of housing facilities owned by a public housing authority in San

Juan Puerto Rico, that is, the Villa Kennedy Public Housing Project, Las Casas Public

Housing Project, El Mirador Public Housing Project, Las Margaritas Public Housing

Project, and in other areas in San Juan Puerto Rico within one thousand (1,000) feet

of a real property comprising a public or private school and/or playground all for

significant financial gain and profit.

       Defendant [2] VLADIMIR NATERA-ABREU, acted as a leader, as a drug

supplier, drug point owner and as enforcer for the drug trafficking organization. As a

leader, he directly and indirectly, supervised and controlled the operations of drug

distribution points controlled by the organization. As a supplier he would purchase

multi-kilogram quantities of cocaine and oversaw the transportation and sale of such

narcotics to Puerto Rico imd the continental United States. The defendant also

received the proceeds from the distribution of narcotics during the span of his

leadership in the conspiracy and was in charge of maintaining control with others, of


USAO-DPR-Plea Agreement Page | 21
              Case 3:19-cr-00121-SCC Document 2048 Filed 08/09/22 Page 22 of 24

                                                                       U.S. v. [2] Vladimir Natera-Abreu, 19-121 (SCC)




          all distribution activities. As an enforcer, he would use and carry firearms in

          furtherance of the drug trafficking activities and would allow other members of the

          organization to use and carry firearms in furtherance of the drug trafficking activities.

          While multiple kilograms of heroin, cocaine, cocaine base and marijuana were

          distributed during the conspiracy, for purposes of this plea agreement the defendant

          acknowledges that during the span of the conspiracy he possessed with intent to
      p

          distribute at least two (2) but less than three point five (3.5) kilograms of cocaine.
\\~
                Defendant, [2] VLADIMIR NATERA-ABREU, acknowledges that from in or

          about the year 2006, and continuing up to and until the return of the Indictment, in

          the Municipality of San Juan, District of Puerto Rico and within the jurisdiction of the

          this Court, he did knowingly and unlawfully possess firearms, of unknown make and

          caliber, as that term is defmed in Title 18, United States Code, Section 921(a)(3), in

          furtherance of a dmg trafficking crime for which he may be prosecuted in a Court of

          the United States.

                Defendant, [2] VLADIMIR NATERA-ABREU, also acknowledges that on or

          about March 1, 2016, he did knowingly conduct and attempt to conduct a financial

          transaction affecting interstate and foreign commerce, to wit, the purchase of real

          estate properties identified as Property No. 2158, registered at page 75, volume 42 of

          Guaynabo, First Section, Registry of the Property of Guaynabo, Puerto Rico, and

          Property No. 3082, registered at page remnant of Property No. 3082, volume remnant

          of Property No. 3082 of Guaynabo, First Section, Registry of the Property of


          USAO-DPR-Plea                            Agreement                       Page                ]    22
         Case 3:19-cr-00121-SCC Document 2048 Filed 08/09/22 Page 23 of 24

                                                                U.S. v. [2] Vladimir Natera-Abreu, 19-121 (SCC)




     Guaynabo, Puerto Rico, which involved the proceeds of a specified unlawful activity,

     that is the felonious manufacture, importation, receiving, concealment, buying,


     selling, or otherwise dealing in controlled substances (as defined in section 102 of the

     Controlled Substance Act), set forth in Title 18, United States Code, Section 1961,

     punishable under any law of the United States including Title 21, United States Code,

     Sections 841(a)(l) and 846, knowing that the transaction was designed in whole and

     in part to conceal and disguise the nature, location, source, ownership, and control of


     the proceeds of specified unlawful activity, and that while conducting and attempting
•^
     to conduct such financial transactions and that while conducting and attempting to

     conduct such financial transaction knew that the property involved in the financial

     transaction represented the proceeds of some form of unlawful activity.

           Furthermore, defendant acknowledges that he paid for the aforementioned real

     estate properties with U.S. currency in more than ten (10) installments that ranged

     between twenty thousand dollars ($20,000.00) and sixty thousand dollars

     ($60,000.00). For every installment produced, defendant appeared before the seller

     with bill rolls wrapped up with a rubber band, in one hundred dollar ($100.00), fifty

     dollar ($50.00), and twenty dollar ($20.00) denominations, which [2] VLADEVOR

     NATERA-ABREU, handed to the seller in each of their encounters. Shortly after the

     purchase of the Urb. Villa Caparra Norte properties, defendant placed both properties

     under the name of his brother Ruben Natera-Abreu.




     USAO-DPR-Plea Agreement Page | 23
     Case 3:19-cr-00121-SCC Document 2048 Filed 08/09/22 Page 24 of 24

                                                          U.S. v. [2] Vladimir Natera-Abreu, 19-121 (SCC)




       At trial, the United States would have proven beyond a reasonable doubt that

defendant [2] VLADIMIR NATERA-ABREU; is guilty as charged in COUNT ONE

COUNT SIX and COUNT SEVEN of the Indictment by presenting physical and

documentary evidence, photographs, audio and video recordings, testimony of a

forensic chemist as an expert witness, cooperating witnesses, as well as the testimony


of law enforcement agents among others.


       Discovery was timely made available to Defendant for review.



              ^                                               3V\^J'
Joseph L. Russell                                    Jenm^J('f'."^Espada'::OcAsio, Esq.
Assistant U.S. Attorney                              CounseFfor Defendant
Dated: ^ A-^y^ -L^ Z T                               Dated: ^jc/l /'W^


                                                         /-/ /^                / ti^
                                                     Vladimir Natera-Abreu
                                                     Defendant.
                                                     Dated";^2/3/Zm_
                                                                    ~TT




USAO-DPR-Plea Agreement                                                                     Page | 24
